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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

WILLIE MCCLOUD, Case No. 5:21-cv-01750-PA-JC
Petitioner,
V.
JUDGMENT
R.J. DONOVAN,
Respondent.

 

Pursuant to this Court’s Order Dismissing Petition for Writ of Habeas
Corpus and Action without Prejudice, IT Is ADJUDGED that the Petition under
28 U.S.C. § 2254 for Writ of Habeas Corpus by a Person in State Custody and this
action are dismissed without prejudice.

IT IS SO ADJUDGED.

DATED: October 20, 2021

 

 

UNITED SI|ATES DISTRICT JUDGE

 
